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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF KANSAS

STEVEN WAYNE FISH, et al., on behalf           )
of themselves and all others similarly         )
situated,                                      )
                                               )
       Plaintiffs,                             )
                                               )            Case No. 16-2105-JAR-JPO
v.                                             )
                                               )
KRIS KOBACH, in his official capacity as )
Secretary of State for the State of Kansas, et )
al.,                                           )
                                               )
       Defendants.                             )
                                               )

                 PLAINTIFFS’ MOTION TO ENFORCE COURT ORDERS
                      AND FOR ORDER TO SHOW CAUSE WHY
              DEFENDANT KOBACH SHOULD NOT BE HELD IN CONTEMPT

       Plaintiffs Steven Wayne Fish, Donna Bucci, Charles Stricker, Thomas J. Boynton,

Douglas Hutchinson, and the League of Women Voters Kansas (“LWVK,” and collectively

with Fish, Bucci, Stricker, Boynton, and Hutchinson, “Plaintiffs”) hereby request an order to

enforce court orders that directs Defendant Kobach to comply with: (i) the Preliminary

Injunction Order of May 17, 2016 (Doc. 129) (“PI Order”) and (ii) the Memorandum and Order

issued by this Court on October 14, 2016 (Doc. 241) (“Public Notice Order”) by requiring him

to:

       1.       Instruct local elections officials to send certificates of registration to covered

voters; and

       2.       Update the State of Kansas: County Election Manual immediately to make clear

that, at this time, covered voters are exempt from the DPOC requirement.

       Plaintiffs further request the Court to issue an order to show cause why Defendant

Kobach should not be held in contempt. As further discussed in Plaintiffs’ accompanying

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Memorandum of Law and Facts, Defendant Kobach has disregarded both the PI Order’s

directive that he is to “register for federal elections all otherwise eligible motor voter registration

applicants that have been cancelled or are in suspense due solely to their failure to provide

DPOC,” Fish v. Kobach, 189 F. Supp. 3d 1107, 1152 (D. Kan. 2016), aff'd, 840 F.3d 710 (10th

Cir. 2016), and the Public Notice Order’s directive that he is to “provid[e] [voters] with

consistent information about the law as it stands now, with the caveat that it would be subject to

further official notice.” Public Notice Order at 4 (emphasis added).

       In the alterative, Plaintiffs respectfully request that the Court amend the Public Notice

Order to explicitly state that Defendant must:

       1.      Instruct local elections officials to send certificates of registration to covered

voters; and

       2.      Update the County Election Manual immediately to make clear that, at this time,

covered voters are exempt from the DPOC requirement.




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DATED this 8th day of January, 2018.

Respectfully submitted,

 /s/ Stephen Douglas Bonney                     /s/ Dale E. Ho
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                                  CERTIFICATE OF SERVICE

        I, the undersigned, hereby certify that on the 8th day of January, 2018, I electronically filed

the foregoing document using the CM/ECF system, which automatically sends notice and a copy

of the filing to all counsel of record.

                                                       /s/ Stephen Douglas Bonney
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